
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-04-146-CV



TWENTY WINGS, LTD. AND 							APPELLANT

TWI XXV, INC., JUDY HALL, 

DIRECTOR, AS PARTNERS D/B/A HOOTERS	



V.



TEXAS ALCOHOLIC BEVERAGE COMMISSION	APPELLEE



----------

FROM THE 96
TH
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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We have considered appellant’s “Motion For Voluntary Dismissal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal with prejudice to its refiling. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same, for which let execution issue.

PER CURIAM	

PANEL D:	LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DELIVERED: July 22, 2004	 &nbsp;

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




